           Case 1:17-vv-00771-UNJ Document 35 Filed 05/04/18 Page 1 of 2




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 17-771V
                                    Filed: February 26, 2018
                                         UNPUBLISHED


    TAMMY L. DOUSE,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                       Table Injury; Influenza (Flu) Vaccine;
                                                             Guillain-Barre Syndrome (GBS)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Matthew N. Menzer, Menzer Law Firm, PLLC, Seattle, WA, for petitioner.
Julia Marter Collison, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:

        On June 12, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered Guillain-Barré syndrome (GBS) as a result of
an influenza (flu) vaccine administered to her on October 3, 2016.. Petition at 1. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

        On February 23, 2018, respondent filed his Rule 4(c) report in which he
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent states that “petitioner has satisfied the criteria
set forth in the recently revised Vaccine Injury Table (Table) and the Qualifications and
Aids to Interpretation (QAI), which afford petitioner a presumption of causation if the
1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
        Case 1:17-vv-00771-UNJ Document 35 Filed 05/04/18 Page 2 of 2



onset of GBS occurs between three and forty-two days after a seasonal flu vaccination
and there is no apparent alternative cause.” Id. at 5 (citing 42C.F.R. § 100.3
(a)(XIV)(D), (c)(15)).

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.


IT IS SO ORDERED.


                                 s/Nora Beth Dorsey
                                 Nora Beth Dorsey
                                 Chief Special Master




                                          2
